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20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 3 of 62
20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 4 of 62
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20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 6 of 62
20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 7 of 62
20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 8 of 62
20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 9 of 62
20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 10 of 62
20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 11 of 62
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20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 13 of 62
20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 14 of 62
20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 15 of 62
20-01808-WLH11   Doc 57   Filed 10/22/20   Entered 10/22/20 10:05:46   Pg 16 of 62
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                                              King Mountain Tobacco
                                                  Status of Taxes
                                            September 25th-30th, 2020

                                 Amounth Withheld          Amount             Date            Postpetition
           Tax Type                 or Accrued              Paid              Paid           Taxes Past Due

FEDERAL TAXES
FICA                         $                  -     $                 -            N/A $                -
Federal Withholding                             -                       -            N/A                  -
Unemployment                                    -                       -            N/A                  -
Income                                          -                       -            N/A                  -
Other                                           -                       -            N/A                  -

STATE TAXES
Dept of Labor & Industries   $             33,246.79 $         33,246.79      10/13/2020 $                -
Income                                           -                   -               N/A
Employment Sec.                                  -                   -               N/A                  -
Dept of Revenue
   B&O                                          N/A                     N/A          N/A                  N/A
   Sales                                        N/A                     N/A          N/A                  N/A
   Excise                                       N/A                     N/A          N/A                  N/A

OTHER TAXES
City Business/ License       $                  -     $                 -            N/A $                -
Personal Property                               -                       -            N/A                  -
Real Property                                   -                       -            N/A                  -

TOBACCO TAXES
Federal Excise Taxes         $            226,554.86 $        226,554.86      10/13/2020 $                -
MSA Escrow Deposits                       664,308.91                 -               N/A                  -
FDA Taxes                                        -                   -               N/A                  -




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                                                                                             Statement Start Date:   09-01-2020
                                                                                             Statement End Date:     09-30-2020


                                      DEPOSITS AND OTHER CREDITS

Posted Date                                         Transaction Detail                                          Amount

09/23/20           Deposit Internet Transfer from       2367 CK                                                417,728.49

                                    WITHDRAWALS AND OTHER DEBITS

Posted Date                                         Transaction Detail                                          Amount

09/04/20           Domestic Wire Withdrawal Wire Out 20202480020000 BNF:BAKER                                  275,000.00
                   HOSTETLER LLP IOLTA
09/04/20           Domestic Wire Withdrawal Wire Out 20202480008800 BNF:ALLIANCE ONE                           153,912.00
                   SPECIALTY PRODUCTS
09/11/20           Domestic Wire Withdrawal Wire Out 20202550062500 BNF:BUSH KORNFELD                           25,000.00
                   LLP POOLED IOLTA
09/14/20           Domestic Wire Withdrawal Wire Out 20202580014700 BNF:ALCOHOL                                582,880.51
                   TOBACCO TAX TRADE BUREAU
09/14/20           Domestic Wire Withdrawal Wire Out 20202580056900 BNF:NORTHEN BLUE,                           50,000.00
                   LLP TRUST ACCOUNT
09/15/20           Domestic Wire Withdrawal Wire Out 20202590009500 BNF:STRIKER PIERCE                          12,000.00
                   LLC
09/15/20           Domestic Wire Withdrawal Wire Out 20202590009400 BNF:BUSH KORNFELD                          150,000.00
                   LLP POOLED IOLTA
09/16/20           Domestic Wire Withdrawal Wire Out 20202600008400 BNF:BAKER                                  105,104.79
                   HOSTETLER LLP
09/21/20           Domestic Wire Withdrawal Wire Out 20202650010200 BNF:ALLIANCE ONE                            76,956.00
                   SPECIALTY PRODUCTS
09/23/20           Domestic Wire Withdrawal Wire Out 20202670014800 BNF:ALCOHOL                                569,629.76
                   TOBACCO TAX TRADE BUREAU
09/23/20           Domestic Wire Withdrawal Wire Out 20202670014700 BNF:ALCOHOL                                417,728.49
                   TOBACCO TAX TRADE BUREAU



                                         DAILY BALANCE SUMMARY


  Date               Balance               Date               Balance                Date                   Balance
  09/01                   0.00             09/16                      0.00               09/21                   0.00
  09/15            105,104.79              09/18              76,956.00




                                                         Total For              Total
                                                        This Period          Year-To-Date
              Total Overdraft Fees                            $0.00              $0.00
              Total Returned Item Fees                        $0.00              $0.00




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                                                                            Statement Start Date:    09-01-2020
                                                                            Statement End Date:      09-30-2020


                                 DEPOSITS AND OTHER CREDITS

Posted Date                                     Transaction Detail                             Amount

09/11/20      Deposit Internet Transfer from        2383 CK                                    29,640.00
09/14/20      Deposit Internet Transfer from        2416 CK                                   200,000.00
09/14/20      Deposit Internet Transfer from        2383 CK                                    35,880.00
09/14/20      Descriptive Deposit Merchant Deposit                                            403,658.46
09/17/20      Deposit Internet Transfer from        2383 CK                                    33,540.00
09/17/20      Descriptive Deposit Merchant Deposit                                             20,394.94
09/18/20      Domestic Wire Deposit Wire In 20202620012500 ORG:BB&T TRUST DEPT                500,000.00
09/22/20      Descriptive Deposit Merchant Deposit                                            272,053.54
09/23/20      Deposit Internet Transfer from        2383 CK                                    45,240.00
09/23/20      Deposit Internet Transfer from        2416 CK                                   335,000.00
09/24/20      Deposit Internet Transfer from        2416 CK                                   150,000.00
09/24/20      Deposit Internet Transfer from        2383 CK                                    31,980.00
09/24/20      Deposit Internet Transfer from        2416 CK                                   175,000.00
09/29/20      Deposit Internet Transfer from        2383 CK                                    35,248.84
09/29/20      Deposit Internet Transfer from        2383 CK                                    10,240.00
09/30/20      Deposit Internet Transfer from        2383 CK                                    20,000.00

                               WITHDRAWALS AND OTHER DEBITS

Posted Date                                     Transaction Detail                             Amount

09/02/20      External Withdrawal ACHMA VISB 800-922-0204 - BILL PYMNT                          1,167.57
09/03/20      External Withdrawal VIMLY BENEFIT SO ES10362-OPT - PAYMENT                       43,014.62
              XX014B0L9BQIG4
09/04/20      Withdrawal Internet Transfer to        2408 CK                                  153,912.00
09/04/20      Withdrawal Internet Transfer to        2408 CK                                  275,000.00
09/04/20      External Withdrawal IRS - USATAXPYMT 270064840271135                             36,877.93
09/04/20      External Withdrawal IRS - USATAXPYMT 270064805681940                                   70.08
09/11/20      Withdrawal Internet Transfer to        2408 CK                                   25,000.00
09/11/20      External Withdrawal FIRST INSURANCE PBS ACH DEBIT - INSURANCE                    43,169.46
09/14/20      Withdrawal TTB Taxes                                                            582,880.51
09/14/20      Withdrawal Internet Transfer to        2408 CK                                   50,000.00
09/15/20      Withdrawal Internet Transfer to        2408 CK                                  150,000.00
09/15/20      Withdrawal Internet Transfer to        2408 CK                                   12,000.00
09/15/20      Withdrawal Internet Transfer to        2408 CK                                  105,104.79
09/16/20      Analysis Service Charge                                                               457.14




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                                                                                     Statement Start Date:   09-01-2020
                                                                                     Statement End Date:     09-30-2020


                                         WITHDRAWALS AND OTHER DEBITS

Posted Date                                             Transaction Detail                              Amount

09/18/20              Withdrawal Internet Transfer to        2408 CK                                    76,956.00
09/18/20              External Withdrawal IRS - USATAXPYMT 270066290285682                              35,356.10
09/18/20              External Withdrawal IRS - USATAXPYMT 270066260219377                                   71.73
09/22/20              External Withdrawal VIMLY BENEFIT SO ES10362-OPT - PAYMENT                        43,701.08
                      XX014B129D8QR1
09/23/20              Withdrawal Internet Transfer to        2408 CK                                   569,629.76
09/23/20              Withdrawal Internet Transfer to        2408 CK                                   417,728.49




   *Indicates check number out of sequence.
    Check#               Date            Amount              Check#          Date   Amount
     21638           09/21/20              206.62           22161*       09/02/20       25.61
     21738*          09/09/20            4,600.00           22162        09/04/20      721.17
     21739           09/21/20              300.00           22164*       09/03/20       38.48
     21740           09/14/20           67,500.00           22165        09/01/20      570.00
     21744*          09/25/20              536.53           22167*       09/01/20    2,245.32
     21761*          09/11/20              252.00           22169*       09/01/20      320.44
     21866*          09/29/20              487.93           22170        09/02/20   20,625.94
     22001*          09/23/20            1,500.00           22171        09/03/20      160.00
     22077*          09/01/20              889.75           22172        09/02/20    6,823.95
     22093*          09/04/20              426.75           22173        09/09/20      158.91
     22094           09/29/20              961.07           22174        09/01/20      639.89
     22117*          09/15/20              304.14           22175        09/02/20      185.32
     22126*          09/03/20              432.00           22176        09/03/20    2,300.00
     22130*          09/11/20            3,593.63           22178*       09/08/20       95.73
     22131           09/01/20              627.00           22179        09/09/20   45,000.00
     22132           09/04/20            7,269.20           22180        09/09/20    1,224.64
     22135*          09/02/20               45.17           22181        09/03/20    2,102.04
     22136           09/04/20              479.90           22182        09/03/20    2,198.31
     22137           09/03/20              209.44           22183        09/09/20    1,975.99
     22138           09/01/20              180.75           22184        09/08/20    1,103.30
     22139           09/01/20                8.46           22185        09/10/20    3,806.90
     22141*          09/03/20              439.04           22186        09/04/20    2,463.82
     22142           09/01/20               39.84           22187        09/04/20    1,006.48
     22143           09/01/20           30,680.03           22188        09/09/20    1,197.12
     22144           09/01/20              917.91           22189        09/04/20    1,160.49
     22145           09/02/20              550.00           22190        09/09/20      854.88
     22146           09/02/20              126.32           22191        09/04/20    1,553.37
     22147           09/01/20               65.15           22192        09/04/20    1,041.14
     22148           09/01/20            3,030.72           22193        09/04/20    2,181.50
     22149           09/01/20            6,181.20           22194        09/04/20    2,567.14
     22150           09/04/20           52,312.40           22195        09/08/20    2,649.14
     22151           09/01/20               96.00           22196        09/04/20    1,864.46
     22152           09/01/20            7,564.77           22197        09/10/20    3,401.11
     22153           09/01/20            1,141.49           22198        09/09/20    1,831.60
     22154           09/02/20            2,369.04           22199        09/04/20    1,579.69
     22155           09/02/20                7.11           22200        09/09/20      383.77
     22156           09/09/20              243.39           22201        09/08/20    1,858.42
     22157           09/01/20           49,040.41           22202        09/09/20      990.05
     22158           09/03/20              157.00           22203        09/04/20    2,254.73
     22159           09/10/20            2,811.16           22204        09/08/20    2,017.90



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                                                                                     Statement Start Date:   09-01-2020
                                                                                     Statement End Date:     09-30-2020



    Check#                 Date               Amount           Check#       Date      Amount
  Checks Cleared Continued...
  *Indicates check number out of sequence.
    22205            09/04/20                2,068.08         22261     09/23/20     3,806.90
    22206            09/04/20                2,361.40         22262     09/18/20     1,253.35
    22207            09/04/20                1,969.16         22263     09/18/20       910.66
    22208            09/10/20                  889.76         22264     09/21/20     1,168.74
    22209            09/04/20                  603.92         22265     09/18/20     1,750.94
    22210            09/08/20                3,241.89         22266     09/18/20     1,694.94
    22211            09/08/20                1,830.86         22267     09/21/20     1,136.11
    22212            09/10/20                  901.53         22268     09/18/20     1,553.37
    22213            09/04/20                3,548.90         22269     09/18/20     1,140.65
    22214            09/03/20                1,402.51         22270     09/17/20     2,094.89
    22215            09/08/20                2,279.16         22271     09/21/20     2,567.13
    22216            09/10/20                1,269.57         22272     09/18/20     2,649.13
    22217            09/04/20                1,151.08         22273     09/17/20     1,564.47
    22218            09/08/20                2,681.77         22274     09/22/20     3,401.11
    22219            09/08/20                1,220.26         22275     09/21/20     1,831.61
    22220            09/03/20                1,437.37         22276     09/17/20     1,555.56
    22221            09/09/20                1,155.11         22277     09/22/20       185.16
    22222            09/04/20                3,291.12         22278     09/18/20     1,858.43
    22223            09/04/20                  426.75         22279     09/18/20     2,153.47
    22224            09/29/20                  377.95         22281*    09/18/20     1,737.78
    22225            09/04/20                2,315.32         22282     09/18/20     2,161.64
    22226            09/09/20                1,512.05         22283     09/21/20     1,969.15
    22227            09/04/20                2,018.62         22284     09/22/20       889.76
    22228            09/03/20                1,374.34         22285     09/18/20       212.64
    22229            09/04/20                1,442.47         22286     09/22/20     1,909.55
    22230            09/10/20                  733.25         22287     09/18/20     1,838.58
    22231            09/04/20                1,957.83         22288     09/23/20       901.52
    22232            09/03/20                1,183.80         22289     09/18/20     3,548.90
    22233            09/04/20                  820.95         22290     09/18/20     1,402.52
    22234            09/04/20                4,849.39         22291     09/17/20     2,061.30
    22235            09/04/20                2,530.13         22292     09/30/20     1,269.57
    22236            09/08/20                1,453.01         22293     09/18/20     1,255.28
    22237            09/08/20                1,114.42         22294     09/16/20     2,681.77
    22238            09/04/20                1,750.36         22295     09/17/20     2,367.79
    22239            09/09/20                1,256.62         22296     09/18/20     1,437.36
    22240            09/08/20                1,014.05         22297     09/22/20     1,270.11
    22241            09/10/20                  890.53         22298     09/18/20     3,291.12
    22242            09/04/20                1,452.64         22299     09/30/20       426.75
    22243            09/08/20                2,175.62         22300     09/29/20       255.82
    22244            09/10/20                2,425.52         22301     09/29/20        55.13
    22245            09/10/20                  363.73         22302     09/21/20     2,136.99
    22246            09/04/20                  782.29         22303     09/22/20     1,323.82
    22247            09/03/20                  753.10         22304     09/21/20     2,018.63
    22248            09/10/20                4,028.11         22305     09/17/20     1,374.33
    22249            09/03/20                3,633.30         22306     09/18/20     1,455.47
    22250            09/22/20                1,032.16         22307     09/18/20       733.25
    22251            09/09/20                1,464.05         22308     09/18/20     1,957.83
    22252            09/10/20                  363.21         22309     09/17/20     1,207.05
    22253            09/11/20                5,498.11         22310     09/21/20       616.74
    22254            09/23/20                1,500.00         22311     09/16/20     5,075.85
    22255            09/14/20                2,898.32         22312     09/18/20     2,530.14
    22256            09/22/20                1,240.91         22313     09/21/20     1,467.55
    22257            09/17/20                1,207.98         22314     09/21/20     1,121.07
    22258            09/17/20                2,111.53         22315     09/18/20     1,750.35
    22259            09/21/20                1,975.99         22316     09/21/20     1,171.72
    22260            09/21/20                1,209.20         22317     09/21/20     1,204.84



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                                                                                               Statement End Date:     09-30-2020



    Check#                 Date               Amount           Check#            Date           Amount
  Checks Cleared Continued...
  *Indicates check number out of sequence.
    22319*           09/18/20            1,452.64             22362         09/28/20         704.50
    22320            09/21/20            2,175.63             22363         09/21/20          15.40
    22321            09/23/20            2,425.52             22364         09/21/20      56,925.74
    22322            09/23/20              363.73             22365         09/22/20         625.00
    22323            09/18/20              847.68             22366         09/23/20          97.77
    22324            09/22/20            1,256.35             22367         09/21/20         768.45
    22325            09/17/20            3,332.34             22368         09/24/20         269.71
    22326            09/22/20            1,389.00             22369         09/22/20         570.00
    22327            09/21/20            1,375.12             22370         09/22/20       4,955.00
    22328            09/30/20              636.10             22371         09/24/20           9.07
    22329            09/17/20            1,000.00             22372         09/22/20       2,112.50
    22330            09/24/20            3,736.14             22373         09/23/20         892.10
    22331            09/22/20              171.62             22374         09/24/20         728.00
    22332            09/23/20              456.24             22375         09/22/20         601.00
    22334*           09/22/20              247.00             22376         09/22/20         575.07
    22335            09/25/20              127.55             22377         09/23/20       5,037.75
    22336            09/28/20              653.65             22378         09/23/20      17,889.07
    22337            09/22/20               40.70             22379         09/24/20       1,760.00
    22338            09/25/20              959.80             22380         09/23/20       8,071.97
    22339            09/28/20              845.52             22381         09/23/20         746.58
    22340            09/22/20            4,712.60             22382         09/23/20         547.10
    22341            09/23/20          104,152.00             22383         09/21/20      24,700.00
    22342            09/23/20              664.13             22384         09/24/20         268.89
    22343            09/23/20          181,763.14             22385         09/24/20          58.78
    22344            09/23/20              279.55             22386         09/23/20       4,613.02
    22346*           09/22/20           35,899.70             22387         09/23/20          75.49
    22347            09/22/20            1,996.36             22388         09/23/20           7.44
    22349*           09/23/20              829.74             22389         09/24/20          26.00
    22350            09/23/20              324.90             22390         09/23/20       2,080.33
    22351            09/23/20            4,729.54             22391         09/24/20          55.00
    22353*           09/22/20            2,954.77             22392         09/25/20         806.12
    22354            09/24/20            4,552.44             22393         09/29/20       1,384.74
    22355            09/29/20               70.38             22394         09/28/20       1,221.78
    22356            09/22/20              826.35             22396*        09/29/20         978.96
    22357            09/23/20              102.00             22398*        09/30/20       2,167.00
    22358            09/23/20            1,898.88             22400*        09/28/20       2,581.26
    22359            09/22/20            2,837.73             22401         09/29/20       1,300.24
    22360            09/23/20              283.08             22402         09/28/20         673.85
    22361            09/29/20              292.74



                                                DAILY BALANCE SUMMARY


 Date                    Balance                 Date                  Balance          Date                  Balance
 09/01                703,951.14                 09/11           1,082,515.86           09/22             1,169,514.25
 09/02                711,805.11                 09/14           1,018,775.49           09/23               216,356.51
 09/03                977,122.69                 09/15            751,366.56            09/24               561,872.48
 09/04                933,790.03                 09/16            743,151.80            09/25               559,442.48
 09/08              1,062,401.62                 09/17            777,209.50            09/28               552,761.92
 09/09              1,053,153.44                 09/18           1,122,247.55           09/29               592,085.80
 09/10              1,130,389.06                 09/21           1,014,185.12           09/30               607,586.38




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                                                                           Statement Start Date:   09-01-2020
                                                                           Statement End Date:     09-30-2020



                                               Total For       Total
                                              This Period   Year-To-Date
         Total Overdraft Fees                       $0.00       $0.00
         Total Returned Item Fees                   $0.00       $0.00




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                                                                                                                           2383
                                                                                                                           1 of 3




                 KING MOUNTAIN TOBACCO COMPANY INC
                 EFT ACCOUNT
                 PO BOX 422
                 WHITE SWAN WA 98952




BUSINESS ANALYSIS CHECKING                                                                                 Account No.          2383

    Beginning                                                  Interest                                Service                 Ending
      Balance               +           Deposits         +        Paid       -      Withdrawals   -   Charges     =           Balance
   $39,780.00                        $402,816.52                 $0.00              $442,596.52         $0.00                   $0.00
Deposit and Withdrawal totals include paid transactions only

                                                      DEPOSITS AND OTHER CREDITS

      Posted Date                                                   Transaction Detail                                 Amount

      09/02/20                  Domestic Wire Deposit Wire In 20202460072300 ORG:LITTLE BROWN                          20,000.00
                                SMOKE SHACK INC
      09/03/20                  External Deposit CAPITOL DISTRIB - SPE ACH                                             20,497.68
      09/03/20                  Domestic Wire Deposit Wire In 20202470044300 ORG:LITTLE BROWN                          17,440.00
                                SMOKE SHACK INC
      09/04/20                  External Deposit John F Trompeter - ACH S Pay 3973976                                  36,750.00
      09/08/20                  Domestic Wire Deposit Wire In 20202520049500 ORG:LITTLE BROWN                          54,600.00
                                SMOKE SHACK INC
      09/10/20                  External Deposit JJDISTRIBUTOR CR - KING MOUNT 30863 52918                             11,760.00
      09/10/20                  Domestic Wire Deposit Wire In 20202540040900 ORG:LITTLE BROWN                          29,640.00
                                SMOKE SHACK INC




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                                 DEPOSITS AND OTHER CREDITS

Posted Date                                     Transaction Detail                            Amount

09/14/20      Domestic Wire Deposit Wire In 20202580037900 ORG:LITTLE BROWN                   35,880.00
              SMOKE SHACK INC
09/17/20      Domestic Wire Deposit Wire In 20202610034000 ORG:LITTLE BROWN                   33,540.00
              SMOKE SHACK INC
09/22/20      Domestic Wire Deposit Wire In 20202660054100 ORG:LITTLE BROWN                   45,240.00
              SMOKE SHACK INC
09/24/20      Domestic Wire Deposit Wire In 20202680039500 ORG:LITTLE BROWN                   31,980.00
              SMOKE SHACK INC
09/28/20      External Deposit CAPITOL DISTRIB - SPE ACH                                      10,248.84
09/28/20      Domestic Wire Deposit Wire In 20202720079300 ORG:LITTLE BROWN                   25,000.00
              SMOKE SHACK INC
09/29/20      Domestic Wire Deposit Wire In 20202730080000 ORG:LITTLE BROWN                   10,240.00
              SMOKE SHACK INC
09/30/20      Domestic Wire Deposit Wire In 20202740086600 ORG:LITTLE BROWN                   20,000.00
              SMOKE SHACK INC

                               WITHDRAWALS AND OTHER DEBITS

Posted Date                                     Transaction Detail                            Amount

09/02/20      Withdrawal Internet Transfer to        2367 CK                                  39,780.00
09/03/20      Withdrawal Internet Transfer to        2367 CK                                  40,497.68
09/03/20      Withdrawal Internet Transfer to        2367 CK                                  17,440.00
09/04/20      Withdrawal Internet Transfer to        2367 CK                                  36,750.00
09/09/20      Withdrawal Internet Transfer to        2367 CK                                  54,600.00
09/10/20      Withdrawal Internet Transfer to        2367 CK                                  11,760.00
09/11/20      Withdrawal Internet Transfer to        2367 CK                                  29,640.00
09/14/20      Withdrawal Internet Transfer to        2367 CK                                  35,880.00
09/17/20      Withdrawal Internet Transfer to        2367 CK                                  33,540.00
09/23/20      Withdrawal Internet Transfer to        2367 CK                                  45,240.00
09/24/20      Withdrawal Internet Transfer to        2367 CK                                  31,980.00
09/29/20      Withdrawal Internet Transfer to        2367 CK                                  35,248.84
09/29/20      Withdrawal Internet Transfer to        2367 CK                                  10,240.00
09/30/20      Withdrawal Internet Transfer to        2367 CK                                  20,000.00




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                                    DAILY BALANCE SUMMARY


 Date            Balance            Date            Balance                Date                   Balance
 09/01         39,780.00            09/09                   0.00               09/23                   0.00
 09/02         20,000.00            09/10           29,640.00                  09/28             35,248.84
 09/03              0.00            09/11                   0.00               09/29                   0.00
 09/08         54,600.00            09/22           45,240.00




                                               Total For              Total
                                              This Period          Year-To-Date
         Total Overdraft Fees                       $0.00              $0.00
         Total Returned Item Fees                   $0.00              $0.00




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                                                SEPTEMBER 01, 2020 TO SEPTEMBER 30, 2020
                                                ACCOUNT NAME: KING MTN MAIN
                                                ACCOUNT NUMBER:         0010




                                         ACCOUNT NAME:              SUCCESSOR ESCROW AGREEMENT BY
KING MOUNTAIN TOBACCO COMPANY                                       AND AMONG KING MOUNTAIN
ATTN: JAY THOMPSON                                                  TOBACCO COMPANY, INC. AND
PO BOX 422
WHITE SWAN, WA 98952                                                BRANCH BANKING AND TRUST COMPANY
                                                                    MAIN ACCOUNT
                                         RELATIONSHIP               SUSAN FAIRHURST
                                         MANAGER:                   252-246-2134
                                                                    SFAIRHURST@BBANDT.COM
                                         INVESTMENT                 DIRECTED
                                         OFFICER:                   999-999-9999
                                                                    TRUSTCORPACTIONS@BBANDT.COM




ACCOUNT ACTIVITY SUMMARY
                                                           CURRENT PERIOD YEAR TO DATE
       MARKET VALUE AT BEGINNING OF PERIOD                     1 , 904 , 956 . 70              939 , 752 . 67
         INCOME                                                           10 . 89                 3 , 020 . 11
         SALES, MAT, REDEM                                     1 , 016 , 215 . 57           2 , 339 , 464 . 91
         BUYS                                                      290 , 994 . 30 -         2 , 470 , 830 . 57 -
         DISBURSEMENTS                                         1 , 030 , 655 . 42 -         2 , 349 , 580 . 13 -
         CASH RECEIPTS                                             147 , 204 . 97           2 , 433 , 999 . 49
         FEES                                                              0 . 00                 5 , 675 . 00 -
         CHANGE IN MARKET VALUE                                    725 , 221 . 27 -             131 , 365 . 66
       MARKET VALUE AT END OF PERIOD                           1 , 021 , 517 . 14           1 , 021 , 517 . 14


TRANSACTION SUMMARY
                                              CURRENT PERIOD
                                       PRINCIPAL   INCOME
                                           CASH       CASH                               COST
              BEGINNING BALANCE           162,174.49                 0.00        1,742,782.21
              INCOME
                 INTEREST                                           10 . 89
                 CASH RECEIPTS            147, 204 .97
              TOTAL INCOME                147,204.97                10.89                    0.00
              SALES, MAT, REDEM
                 SALES                  1 ,016, 215 .57                          1, 016 ,215 .57-
              TOTAL SALES, MAT, REDEM   1,016,215.57                 0.00        1,016,215.57-
              BUYS
                 PURCHASES                290, 994 .30-                               290 ,994 .30
              TOTAL BUYS                  290,994.30-                0.00             290,994.30
              DISBURSEMENTS
                 DISBURSEMENTS          1 ,030, 655 .42-
              TOTAL DISBURSEMENTS       1,030,655.42-                0.00                    0.00
              ENDING BALANCE                 3,945.31               10.89        1,017,560.94




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TRANSACTION STATEMENT
                                                   PRINCIPAL               INCOME                               GAIN /
DATE       DESCRIPTION                                 CASH                  CASH            COST                LOSS
09/01/20   BEGINNING BALANCE                          162,174.49                0.00    1,742,782 .21
                2785
09/01/20   PURCHASED 162,174.49 SHS JP                162, 174 .49-                       162 ,174 .49
           MORGAN FEDERAL MMKT-INST FD 836
           ON 09/01/2020 AT 1.00

09/03/20   PAYMENT TO ENGLISHMAN AND                   16, 215 .57-
           PANNILL LLC BRANCH BANKING AND
           TRUST CO PAYMENT PER INSTRUCTION
           DATED 09/03/2020

                 2785
09/04/20   SOLD 16,215.57 SHS JP MORGAN                16, 215 .57                         16 ,215 .57-
           FEDERAL MMKT-INST FD 836 ON
           09/04/2020 AT 1.00

09/04/20   REMITTANCE TO KING MOUNTAIN                500, 000 .00-
           TOBACCO COMPANY HERITAGE BANK
           DISBURSEMENT PER CLIENT REQUEST
           DATED 9/4/2020

                 2785
09/08/20   SOLD 500,000 SHS JP MORGAN                 500, 000 .00                        500 ,000 .00-
           FEDERAL MMKT-INST FD 836 ON
           09/08/2020 AT 1.00

                 2785
09/18/20   SOLD 500,000 SHS JP MORGAN                 500, 000 .00                        500 ,000 .00-
           FEDERAL MMKT-INST FD 836 ON
           09/18/2020 AT 1.00 THRU CASH
           MANAGEMENT

09/18/20   REMITTANCE TO KING MOUNTAIN                500, 000 .00-
           TOBACCO COMPANY HERITAGE BANK
           DISBURSEMENT PER CLIENT REQUEST
           DATED 9/17/20

09/22/20   TRANSFERRED FROM ACCOUNT                          0 .02
                0029 AL INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                          9 .20
                0065 GA INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                     8, 223 .92
                0074 ID INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                    11, 904 .49
                0083 IN INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020




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TRANSACTION STATEMENT ( CONTINUED )
                                                PRINCIPAL              INCOME                            GAIN /
DATE       DESCRIPTION                              CASH                 CASH            COST             LOSS
09/22/20   TRANSFERRED FROM ACCOUNT                       5 .81
                0092 KS INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED TO ACCOUNT                      126 .54-
                0109 KY ACCUMULATED
           INTEREST PURCHASED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                 21, 211 .83
                0118 MT INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                       4 .19
                0127 NV INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                       5 .31
                0145 NM INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                 46, 635 .01
                0154 NC INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                     18 .08
                0163 OR INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                  9, 896 .23
                0181 SC INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                 45, 344 .53
                0190 WA INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                       0 .01
                0207 WY INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                       0 .75
                0234 VA INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020




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TRANSACTION STATEMENT ( CONTINUED )
                                                  PRINCIPAL               INCOME                              GAIN /
DATE       DESCRIPTION                                CASH                  CASH            COST               LOSS
09/22/20   TRANSFERRED FROM ACCOUNT                         0 .17
                0243 ND INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   TRANSFERRED FROM ACCOUNT                         0 .11
                0261 CT INVESTMENT GAINS
           AND INTEREST EARNED TO 22
           SEPTEMBER 2020

09/22/20   PAYMENT TO ENGLISHMAN AND                  14, 313 .31-
           PANNILL LLC BRANCH BANKING AND
           TRUST CO PER INSTRUCTION DTD
           9/22/20

                2785
09/23/20   PURCHASED 128,819.81 SHS JP               128, 819 .81-                       128 ,819 .81
           MORGAN FEDERAL MMKT-INST FD 836
           ON 09/23/2020 AT 1.00

09/30/20   TRANSFERRED FROM ACCOUNT                    3, 945 .31
                0074 ID INVESTMENT GAINS
           AND INTEREST EARNED FOR THE
           MONTH OF SEPTEMBER 2020

                 2785
09/30/20   INTEREST ON JP MORGAN FEDERAL                                      10. 89
           MMKT-INST FD 836 PAYABLE
           09/30/2020

09/30/20   ENDING BALANCE                              3,945.31               10.89    1,017,560 .94             0.00




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PORTFOLIO STATEMENT
                                                                                   EST ANNUAL
                                                       MARKET                 TAX    INCOME/   CURRENT
DESCRIPTION                                             VALUE                 COST ACCRUED INC   YIELD
CASH AND CASH EQUIVALENTS
 4812A2785
 JP MORGAN FEDERAL MMKT-INST FD                        1 ,017 ,560 .94   1 ,017 , 560 .94   101 .76          0 .01
 836                                                                                          8 .48

 CASH                                                      3 ,956 .20         3 , 956 .20


TOTAL CASH AND CASH EQUIVALENTS                        1,021 ,517.14     1,021,517.14       101.76           0.01
                                                                                              8.48

GRAND TOTAL ASSETS                                     1,021 ,517.14     1,021,517.14       101.76           0.01
                                                                                              8.48




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BB&T STATEMENT DISCLOSURE
                     BB&T TRUST DEPOSIT DISCLOSURE UPDATE
The BB&T Trust Deposit Program and Insured Deposit Program for employee benefit plans (collectively, "Program") is
offered by Branch Banking & Trust Company (BB&T) as a cash management option for certain types of trust, agency,
custody, and employee benefit plan accounts at BB&T. The Program is intended to provide a vehicle for the temporary
investment of cash balances awaiting investment or distribution, by investing such balances into a deposit account at
BB&T
In accordance with the Terms and Conditions of the Program, Program deposits are paid a rate of interest set at the
discretion of BB&T, which may fluctuate weekly based upon market conditions. At the present time BB&T pays interest
on Program deposits at a rate equal to the iMoneyNet Institutional - Treasury Only Money Market Fund Index, an index
maintained by Informa PLC made up of 70 different money market funds as it may determine on a weekly basis. BB&T
reserves the right, in its sole discretion, and without any prior notice, to change the interest rate setting methodology
for the Program at any time.
Current interest rates are available at any time by contacting your BB&T Relationship Manager.




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BB&T STATEMENT DISCLOSURE
BB&T and SunTrust have merged to become Truist. Until our separate operating systems are fully integrated,
we will continue to use the BB&T name. Find details about BB&T, now Truist, at BBT.com/Truist.
Services and products featured herein may include some offered by affiliated companies of BB&T Wealth/BB&T
Retirement & Institutional Services. The fees for those services and products are in addition to the fees
charged by BB&T Wealth/BB&T Retirement & Institutional Services. As a result, BB&T Corporation, as a whole,
receives more compensation than would otherwise be received if a non-affiliated service or product was used. When
we offer any service or product to a client, we use the same process to offer both affiliated and non-affiliated
services and products. When we have authority to select any service or product on behalf of a client, if our
process shows affiliated services and products to be competitive with corresponding non-affiliated services and
products, then we may select affiliated products and services. BB&T Wealth/BB&T Retirement & Institutional
Services expresses no opinion on the use of BB&T affiliated services and products when the client selects such
services and products in a client-directed account.
If BB&T, BB&T I-IA, or one of their affiliates is engaged to provide investment advice (as defined in
ERISA and its implementing regulations) to the Plan ("Plan Investment Advisor") and you give, on behalf of the
Plan, your consent to invest in a Sterling Capital Management Fund, you assume responsibility to obtain, on behalf
of the Plan, the prospectus, as it may be updated from time to time, for the applicable Sterling Capital
Management Fund. Current copies of prospectuses may be obtained at: www.sterlingcapitalfunds.com. You will also
communicate to the Plan Investment Advisor if you at any time are not independent of and unrelated to (as defined
in Prohibited Transaction Exemption ("PTE") 77-4, as amended) the Plan Investment Advisor.
BB&T purchases investment advisory services and products from both affiliated and third-party firms. These
services and products represent multiple and varying aspects of our ability to provide and deliver investment
services to our clients (i.e. investment product research; asset allocation services; trade execution services;
etc.). In certain instances, arrangements may exist where BB&T's cost to acquire these services and products are
partially offset through commissions and/or spreads collected on certain trade executions, otherwise referred to
as soft dollars. BB&T and our partners are dedicated to providing best execution in all respects of these
investment services and have protocols in place to monitor and evaluate this commitment.
Market values of securities are provided using third-party sources we believe to be reliable; however, accuracy is
not guaranteed.
Traditional banking services are provided by Branch Banking and Trust Company, Member FDIC. Only deposit products
are FDIC insured. Securities, Investments and Insurance products or services are:
NOT A DEPOSIT - NOT FDIC INSURED - MAY GO DOWN IN VALUE - NOT INSURED BY ANY FEDERAL
GOVERNMENT AGENCY - NOT GUARANTEED BY A BANK.
Please review your statement carefully. In case of errors, questions or other inquiries about transactions or
statement, telephone or write to your relationship manager at the telephone number or address included on this
statement within thirty (30) days of the date of this statement. If you contact us verbally, then we may require that
you send us your questions in writing.

NOTICE OF LIMITATION OF LIABILITY FIDUCIARY TRUST ACCOUNTS
An action for breach of trust based on matters disclosed in a trust accounting or other written reports of the
trustee, such as this statement, may be subject to a statute of limitations, limiting your rights, measured as
follows, from either the date the trust accounting, statement or written report is mailed or received. If you
have any questions regarding your rights, please contact your attorney.
AL: 2 Years from Mailing                                                   PA: 6 Months from Receipt
FL: 6 Months from Receipt                                                  SC: 1 Year from Mailing
GA: 2 Years from Receipt                                                   TN: 1 Year from Mailing
KY: 1 Year from Mailing                                                    TX: 4 Years from Receipt
MD: 1 Year from Mailing                                                    VA: 1 Year from Mailing
NC: 5 Years from Resignation/Removal of Trustee                            WV: 1 Year from Mailing
OH: 2 Years from Mailing                                                   Washington, D.C.: 1 Year from Mailing




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BB&T STATEMENT DISCLOSURE
On or after 10/1/2020, BB&T Wealth & Retirement Services will begin updating accounts, where market value fees are
charged, to have market value fees calculated at month end. This change will not impact your agreed upon fee schedule
or fee frequency; however, some accounts may experience a one-time, increased or decreased market value fee as the
calculation date is changed to the month end. Please contact your Wealth Advisor or Institutional Consultant with any
questions specific to your account.




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                                                            ACCOUNT STATEMENT                                    PAGE 9
                                                           SEPTEMBER 01, 2020 TO SEPTEMBER 30, 2020
                                                           ACCOUNT NAME: KING MTN MAIN
                                                           ACCOUNT NUMBER:         0010




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